        Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 1 of 53




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                               §
                                                     §
PREFERRED READY-MIX LLC,                             §     CASE NO. 21-33369
                                                     §
        Debtor.                                      §             Chapter 11

                ORDER CONFIRMING DEBTOR’S FIRST AMENDED PLAN
             OF REORGANIZATION UNDER SUBCHAPTER V OF CHAPTER 11

        CAME ON FOR CONSIDERATION by the Court at the confirmation hearing held on

February 22, 2022, the Debtor’s First Amended Plan of Reorganization Under Subchapter V of

Chapter 11 [Docket No. 102] (“Plan’) filed by Preferred Ready-Mix LLC, Debtor in the above-

styled and numbered case. The Plan having been transmitted to all creditors, equity interest

holders and parties-in-interest and the Court, after hearing the evidence presented, concludes as

follows:

        1.      The service of the Subchapter V Trustee shall terminate upon substantial

consummation of the Plan. The Debtor shall file a Notice of Substantial Consummation.

        2.      Compliance with 11 U.S.C. § 1129(a)(1). The Court finds and concludes that the

Plan complies with the applicable provisions of the Bankruptcy Code, as required by 11 U.S.C.

§§ 1191(a), 1129(a)(1). Additionally, as required by Bankruptcy Rule 3016(a), the Plan is dated,

and the Plan identifies the Debtor as the proponent.

        3.      Compliance with 11 U.S.C. § 1129(a)(2). The Court finds and concludes that the

Debtor has complied with the applicable provisions of the Bankruptcy Code, as required by

11 U.S.C. § 1129(a)(2).        The Debtor has complied with the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, and this Court’s Order in transmitting the Plan,



Order Confirming Debtor’s First Amended Plan
of Reorganization Under Subchapter V of Chapter 11
Page 1
        Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 2 of 53




Disclosure Statement, the ballots, and all related documents and notices in the solicitation and

tabulation of acceptances or rejections of the Plan.

        4.      Compliance with 11 U.S.C. §1129(a)(3). The Court finds and concludes that the

Debtor has proposed the Plan in good faith and not by any means forbidden by law, as required by

11 U.S.C. § 1129(a)(3). The Debtor has acted and is presently acting in good faith in conjunction

with all aspects of the Plan. All provisions and transactions contemplated by the Plan were

negotiated and consummated in good faith, at arm’s length, and without collusion. In determining

that the Plan has been proposed in good faith, the Court has examined the totality of the

circumstances surrounding the formulation of the Plan and the solicitation of the Plan. The

Debtor filed the proposed Plan with legitimate and honest purposes of paying all allowed claims

in full. Additionally, the Plan reflects the best interest of the Debtor’s Estate. In addition, the

Court finds and concludes that the Debtor solicited acceptance of the Plan in good faith, and in

compliance with the Bankruptcy Code.

        5.      Compliance with 11 U.S.C. § 1129(a)(4). The Court finds and concludes that all

payments made or to be made by the Debtor for services or for costs and expenses in or in the

Debtor’s Case, or in connection with the Plan and incident to the Debtor’s Case have been

approved by, or are subject to approval of, this Court, as required by 11 U.S.C. § 1129(a)(4).

        6.      Compliance with 11 U.S.C. § 1129(a)(5). The Court finds and concludes that the

Debtor has complied with the provisions of 11 U.S.C. § 1129(a)(5).

        7.      Compliance with 11 U.S.C. § 1129(a)(6). The Court finds and concludes that, after

confirmation of the Plan, the plan does not purport to alter any rate regulation by any governmental

entity, thus satisfying 11 U.S.C. §1129(a)(6).




Order Confirming Debtor’s First Amended Plan
of Reorganization Under Subchapter V of Chapter 11
Page 2
        Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 3 of 53




        8.      Compliance with 11 U.S.C. § 1129(a)(7). The Court finds and concludes that with

respect to impaired classes of Claims or Interests each holder of a Claim or Interest has either:

(i) accepted the Plan or (ii) will receive under the Plan on account of such Claim or Interest

property of a value, as of the Effective Date, that is not less than the amount that such holder would

receive if the Debtors were liquidated under Chapter 7 of the Bankruptcy Code, as required by

11 U.S.C. § 1129(a)(7).

        9.      Compliance with 11 U.S.C. § 1129(a)(8). The Court finds and concludes that the

requirements of this section are met and Classes 1A, 1B and 2 have accepted the Plan pursuant to

11 U.S.C. § 1126(c).

        10.     Compliance with 11 U.S.C. §1129(a)(9). The Court finds and concludes that the

treatment of Claims of a kind specified in 11 U.S.C. § 507(a)(3) satisfies the requirements set forth

in 11 U.S.C. § 1129(a)(9).

        11.     Compliance with 11 U.S.C. § 1129(a)(10). The Court finds and concludes that at

least one class of Claim or Interests that is impaired under the Plan has voted to accept the Plan,

excluding any acceptances by any insider, thus satisfying 11 U.S.C. § 1129(a)(10).

        12.     The Plan is not likely to be followed by further need for reorganization.

        13.     The Plan does not affect any retiree benefits.

        14.     Except as provided in the Plan, the Debtor reserves the right to object to the amount

and allowance of all claims after Confirmation. All such objections shall be filed within sixty

(60) days of the Effective Date, as defined in the Plan.

IT IS THEREFORE ORDERED THAT:

        A.      The Plan found at Docket No. 102 and attached hereto is confirmed pursuant to

11 U.S.C. § 1191(a) of the Bankruptcy Code.           The terms of this Confirmation Order are


Order Confirming Debtor’s First Amended Plan
of Reorganization Under Subchapter V of Chapter 11
Page 3
        Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 4 of 53




controlling if any inconsistency exists between this Confirmation Order and the Plan. The failure

to specifically include or to refer to any particular article, section, or provision of the Plan or any

related document in this Confirmation Order shall not diminish or impair the effectiveness of such

article, section, or provision. The Plan and any related documents are confirmed in their entirety.

The Court incorporates the findings of fact set forth above as the Orders of this Court as

appropriate.

        B.      The Plan is confirmed pursuant to 11 U.S.C. § 1191 as a consensual Plan and the

Debtor will act as the disbursing agent to make all payments to creditors pursuant to the terms of

the Plan.

        C.      Upon substantial consummation of the Plan, the duties of the Trustee in the

Debtor’s bankruptcy case shall terminate as provided under 11 U.S.C. § 1183(c)(1).

        D.      No later than 14 days after the Plan is substantially consummated, the Debtor shall

file with the Court and serve upon the Trustee, U.S. Trustee, and all parties in interest, notice of

substantial consummation of the Plan as provided under 11 U.S.C. § 1183(c)(2).

        E.      On the Effective Date of the Plan, the Debtor shall be and is hereby discharged to

the extent and as provided by 11 U.S.C. § 1141(d)(1).

        F.      On the Effective Date of the Plan, property of the bankruptcy estate of the Debtor

shall vest in the Debtor under 11 U.S.C. § 1141(b).

        G.      The terms of the Plan and this Confirmation Order will be binding upon the Debtor,

all creditors, and all equity security holders, whether or not such creditors and equity holders are

impaired under the Plan or have accepted the Plan, as provided by 11 U.S.C. § 1141(a).

        H.      Within 3 days after the Effective Date of the Plan, counsel for the Debtor shall serve

notice of (i) entry of this Confirmation Order; (ii) the occurrence of the Effective Date; and (iii) any


Order Confirming Debtor’s First Amended Plan
of Reorganization Under Subchapter V of Chapter 11
Page 4
         Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 5 of 53




bar dates and any other deadlines set by the Plan (“Notice”), pursuant to Bankruptcy Rule 3020(c).

The Notice shall be sent to all creditors and parties-in-interest by first class mail, postage prepaid.

Counsel for the Debtor shall thereafter promptly file a copy of such Notice with proof of mailing

with the Court.

         I.      The Debtor and its respective agents and attorneys are hereby authorized,

empowered, and directed to carry out the provisions of the Plan and to perform all acts and execute

and deliver such documents as are necessary or appropriate under the Plan and this Confirmation

Order.

         J.      Nothing in the Plan shall release or diminish the claims the Debtor holds against its

former counsel, Jessica Hoff and her firm.

         SIGNED:




Submitted by:
Joyce W. Lindauer
State Bar No. 21555700
Joyce W. Lindauer Attorney, PLLC
1412 Main Street, Suite 500
Dallas, Texas 75202
Telephone: (972) 503-4033
Attorneys for Debtor




Order Confirming Debtor’s First Amended Plan
of Reorganization Under Subchapter V of Chapter 11
Page 5
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 6 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 7 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 8 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 9 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 10 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 11 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 12 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 13 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 14 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 15 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 16 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 17 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 18 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 19 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 20 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 21 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 22 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 23 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 24 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 25 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 26 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 27 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 28 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 29 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 30 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 31 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 32 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 33 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 34 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 35 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 36 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 37 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 38 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 39 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 40 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 41 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 42 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 43 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 44 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 45 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 46 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 47 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 48 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 49 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 50 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 51 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 52 of 53
Case 21-33369 Document 110 Filed in TXSB on 02/24/22 Page 53 of 53
